  Case: 1:19-cv-00107-TSB-SKB Doc #: 8 Filed: 10/16/20 Page: 1 of 2 PAGEID #: 38




                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION

 JERONE MCDOUGALD,                            :      Case No. 1:19-cv-107
                                              :
        Plaintiff,                            :      Judge Timothy S. Black
                                              :
 vs.                                          :      Magistrate Judge Stephanie K.
                                              :      Bowman
 RONALD ERDOS,                                :
                                              :
        Defendant.                            :

                           DECISION AND ENTRY
               ADOPTING THE REPORT AND RECOMMENDATION
            OF THE UNITED STATES MAGISTRATE JUDGE (Doc. 7) AND
                   TERMINATING THIS CASE IN THIS COURT

       This case is before the Court pursuant to the Order of General Reference to United

States Magistrate Judge Stephanie K. Bowman. Pursuant to such reference, the

Magistrate Judge reviewed the pleadings and, on June 18, 2020, submitted a Report and

Recommendation, recommending that this case be dismissed for lack of prosecution.

(Doc. 7). No objections were filed.

       As required by 28 U.S.C. § 636(b) and Fed. R. Civ. P. 72(b), the Court has

reviewed the comprehensive findings of the Magistrate Judge and considered de novo all

of the filings in this matter. Upon consideration of the foregoing, the Court finds that the

Report and Recommendation should be and is hereby adopted in its entirety.

       Accordingly:

       1.      The Report and Recommendation (Doc. 7) is ADOPTED;

       2.      This case is DISMISSED for lack of prosecution;
 Case: 1:19-cv-00107-TSB-SKB Doc #: 8 Filed: 10/16/20 Page: 2 of 2 PAGEID #: 39




        3.      The Clerk shall enter judgment accordingly, whereupon this case is
                TERMINATED from the docket of the Court; and

        4.      Pursuant to 28 U.S.C. § 1915(a)(3), the Court certifies that an appeal
                of this Order would not be taken in good faith and, therefore, the Court
                DENIES Plaintiff leave to appeal in forma pauperis.

        IT IS SO ORDERED.

Date:        10/16/2020                                        s/Timothy S. Black
                                                             Timothy S. Black
                                                             United States District Judge




                                               2
